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                                                October 12, 2023


  VIA ECF
  Honorable Peter G. Sheridan, U.S.D.J.
  United States District Court, District of New Jersey
  Clarkson S. Fisher Federal Building & U.S. Courthouse
  402 E. State Street
  Trenton, New Jersey 08608


                 Re:     In re Lipitor Antitrust Litigation
                         Civil Action No.: 3:12-cv-02389-PGS-DEA


  Dear Judge Sheridan:

  We write on behalf of the Direct Purchaser Plaintiffs (DPPs), and with the consent of all parties,
  with respect to Your Honor’s Order of 10/10/23 adjourning the End Payor Plaintiffs’ (EPPs)
  class certification evidentiary hearing to October 26 and the hearings on Defendants’ summary
  judgment motion and the DPPs’ class certification motion to October 27, 2023. Because of prior
  scheduling commitments, counsel are not available on October 26 and 27. The parties have
  conferred and agreed, subject, of course to the Court’s scheduling, that they are available on
  November 28 for the EPPs’ class certification hearing and November 29 for the Defendants’
  summary judgment motion and the DPPs’ class certification motion.
  As always, we thank the Court for its attention to and consideration of this matter and are at the
  Court’s disposal, should Your Honor wish to discuss this matter with counsel.
                                                Respectfully,

                                                /s/ Peter S. Pearlman

                                                Peter S. Pearlman
  PSP:sl

  cc:      All Counsel of Record (Via ECF)
